22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 1 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 2 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 3 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 4 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 5 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 6 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 7 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 8 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 9 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 10 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 11 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 12 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 13 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 14 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 15 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 16 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 17 of 18
22-03004-hcm Doc#12-1 Filed 07/01/22 Entered 07/01/22 11:36:40 Exhibit A Pg 18 of 18
